
 1  The People of the State of Colorado, Petitioner-Appellee,  In the Interest of B.J.F., Juvenile-Appellant. No. 18CA2377Court of Appeals of Colorado, Fifth DivisionJanuary 6, 2022
    
               NOT
      PUBLISHED PURSUANT TO C.A.R. 35(e)
    
    
               
      Jefferson County District Court No. 13JD211 Honorable Ann
      Gail Meinster, Judge
    
    
               
      OPINION
    
    
                GOMEZ,
      JUDGE
    
    
               JUDGMENT
      AFFIRMED
    
    
               
      Richman and Harris, JJ., concur.
    
    